Case 2:04-cv-02771-BBD-dkv Document 120 Filed 07/01/05 Page 1 of 5 Page|D 129

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FoR THE WESTERN DISTRICT oF TENNESSEE

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Master File No. 04-2771-DV
This Document Relates To:

District Judge Bernice B. Donald

_ Magistrate Judge Diane K. Vescovo
All Actrons

ORDER GRANTING MOTION FOR LEAVE
TO FILE A REPLY BRIEF IN SUPPORT OF
CERTAIN DEFENDANTS’ MOTION TO ])ISMISS THE
CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

The Court having considered the Motion for Leave to File a Reply Brief in Suppon of

Certain Defendants’ Motion to Dismiss the Consolidated Arnended Class Action, and finding it

to be well taken,
IT IS HEREBY ORDERED that the moving defendants Shall be allowed to file a reply
brief in support of their Motion to Dismiss the Consolidated Amended Class Action Complaint.

Entered this di day of , 2005.

T' is document entered on the docket sheet in c mpHance
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a copy of the foregoing Was duly

served on counsel for plaintiffs in this action on June 17, 2005, by delivery to the following by

the method indicated:

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Honorable Bernice Donald
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